
Judgment reversed upon the law and the facts, and judgment unanimously directed for defendant, appellant, dismissing the complaint on the merits, with costs. So much of finding of fact third as finds that plaintiff erected around a portion of the premises a fence, and that at all times the said Bernhard Voss occupied and was in possession of said premises to the exclusion of every other person, and the findings of fact tenth, eleventh and twelfth, and all of the conclusions of law contained in the decision herein are reversed; and this court finds the findings of fact requested by defendant, appellant, numbered 1, 3, 5 and 9, and conclusions of law so requested numbered 1, 2, 3, 4, 5, 6 and 9. The mere erection of a sign upon the premises in *719question forbidding trespassing and having plaintiff’s name thereon as owner, is insufficient to establish actual occupancy by plaintiff within the meaning of section 134 of the Tax Law. Kelly, P. J., Rich, Manning, Young and Kapper, JJ., concur. Settle order on notice.
